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AFFIDAVIT OF DAVID X. O’NEILL

I, David O'Neill, being duly sworn, depose and state as follows:

1. I am a Special Agent with the United States Drug Enforcement Administration
(“DEA”), and have been so employed for approximately 23 years. I am currently assigned to the
Logan Airport Task Force (““LATF”) based at Logan International Airport in East Boston,
Massachusetts. The LATF is comprised of police officers from the Massachusetts State Police
(“MSP”) and special agents of the DEA. The mission of the LATF is to prevent the flow and
transport of illegal narcotics, and buik United States currency related to the sale of narcotics, using
the resources of the participating law enforcement agencies.

2. Through prior investigations and training, I have become familiar with the methods,
language, and terms that are used to disguise the source and nature of illegal narcotics activities. I
have conducted or assisted in a number of narcotics investigations. I have testified in criminal
trials, in both federal and state courts, as a result of my involvement in those investigations. I have

also applied for, been issued, and have executed search warrants in furtherance of narcotics

investigations.
3. I submit this affidavit in support of a Complaint for Forfeiture in Rem against the
following:
a. $36,000.00 in United States currency, seized from Mohamed Fadel Salah at
Logan International Airport in Boston, Massachusetts on March 13, 2019
(the “Currency”).
4, This affidavit does not contain all the information known to me and other law

enforcement officers regarding this investigation, but only those facts sufficient to establish

probable cause for forfeiture of the Currency.
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5, This affidavit is based upon my personal knowledge, as well as information
provided to me by law enforcement personnel from the DEA, MSP and the LATF, as well as my
review of records and reports relating to the investigation.

6. As set forth below, I have probable cause to believe that the Currency is subject to
forfeiture to the United States pursuant to 21 U.S.C. § 881(a)(6) because it represents moneys,
negotiable instruments, securities, or other things of value furnished or intended to be furnished
by any person in exchange for a controlled substance or listed chemical in violation of 21 U.S.C.
§§ 841 and/or 846, proceeds traceable to such an exchange, and/or moneys, negotiable instruments,
and securities used or intended to be used to facilitate such a violation.

7. On March 13, 2019, the Transportation Security Administration (“TSA”) contacted
MSP at Boston’s Logan International Airport and requested that Troopers respond to the passenger
screening checkpoint in Terminal B. TSA advised that there was a large amount of cash found in
the possession of a departing passenger. At approximately 4:00 p.m. MSP Set. Steve Lopes and I
arrived at the check point, We were dressed in plain clothes and did not have any weapons or
police insignia exposed.

8. The departing passenger, Mohamed Fadel Salah (“Salah”) was traveling on
American Airlines Flight 1453 Boston, MA to Charlotte, NC. The flight’s departure time was
scheduled for 4:11 p.m. The boarding time for the flight was 3:36 p.m. In Charlotte, Salah was
scheduled to connect to American Airlines flight 596, Charlotte, NC to San Diego, CA.

9. Ihave learned that Salah’s ticket was purchased approximately three minutes before
this flight was scheduled to board in Boston. I have also learned that the ticket was purchased by

Muqtar Mohamud.
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10. Based on my training and experience, and that of numerous DEA airport
interdiction groups, drug money couriers often wait until very close to flight time to book their
reservations. In my experience, drug money couriers also wait until the last minute to check-in for
their flights because they believe they will receive less scrutiny from law enforcement at the
airport. In addition, it is common, in my experience, for smugglers of drug proceeds to have their
ticket purchased for them by other members of the drug trafficking organization.

11. Since Boston, MA is not a source area for drugs such as cocaine, heroin,
methamphetamine, and oxycodone, traffickers need to import these drugs from other source areas
from within and outside of the United States. The LATF has seized and forfeited hundreds of
thousands of dollars travelling through Logan International Airport to source-city destinations
throughout California, specifically San Diego. |

12. _—_ J identified myself to Salah using my Department of Justice issued credentials. |
advised Salah that he was not in trouble and that he was not under arrest, and I told Salah that he
was free to leave at any time. Salah confirmed that he had already missed his American Airline’s
flight and stated that he was willing to speak with us.

13. Salah said that he was a truck driver and was traveling to San Diego to purchase a
truck. Salah showed us a video of the specific truck that he said he was interested in purchasing.
As discussed below, Salah would later claim, without explanation, that this same video displayed
the truck he actually already owned and that he was going to California to buy a different truck.

14, When I asked Salah for the seller’s contact information, Salah looked away,
swallowed hard, and answered, “[n]o. I’m not going to buy that specific truck. I am also going to
the auction to look there too.” Salah was unable to provide the name of the auction ot its location.

Salah stated that he wanted to purchase the truck in California because, “[t]rucks are cheaper
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there.” I asked more questions about the truck that Salah displayed on his telephone, Salah was
unable, however, to provide specific information such as the truck specifications, or where he
planned to meet the seller.

15. | Based on my training and experience, Salah’s story, and his lack of specific
information about the truck he was purportedly travelling to purchase, is further indicia that the
seized Currency is drug money. Members of the LATF, myself included, have encountered
numerous bulk cash smugglers who attempt to hide their criminal activity by concocting stories
about purchasing expensive items such as real property or vehicles. In addition, Salah’s statement
that “[t]rucks are cheaper [in California]” is a statement that I and other members of the LATF
have heard from multiple other drug money couriers. Despite the frequency of this claim, members
of the LATF have found no evidence supporting it. In fact, ] have been informed that California
sales tax can range from 7.25% to 10.25% and additional fees may apply in certain cities and
jurisdictions in California when selling/buying a vehicle. The additional expense of traveling to
California to purchase the car and transporting it to its final destination would likely reduce any
discount obtained by purchasing in California, if such a discount existed. In addition, I am aware
that by purchasing an airline ticket last minute, such as the ticket purchased for Salah, travelers
often pay a higher fare than travelers that purchase the ticket in advance.

16. I asked additional questions about how Salah came to possess the cash. Salah
provided numerous and different accounts of where, why, and how he possessed the cash. As his
explanations multiplied, they contradicted themselves.

17. In one instance, Salah said he was from North Dakota and traveled from
Minneapolis to Portland, ME to meet with friends who loaned him $35,000 or $36,000 to purchase

his truck. Salah later stated that “10” different people lent him $35,000 but he was unable to
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provide the purported lenders names or contact information. Salah said he arrived in Portland, ME .
on Friday, March 8, 2019 and that his “community” lent him the cash to purchase the truck as part
of a Somalian cultural lending system. However, shortly thereafter he claimed that the money was
his money and he retrieved it from a friend who has been holding the money on his behalf.

18. Salah then told us that he received the money the day before, March 12, 2019, in
Portland, ME. Salah was unable to identify the people involved in lending him the cash but stated
that he got it at Louie’s house. I have learned from a review of law enforcement records, that
Louie is an alias for Mugtar Mohamud. Muqtar Mohamud is the name of the person that purchased
Salah’s airline ticket.

19. Salah asked me to speak to a male voice on his telephone. Salah represented the
voice as the man who gave him (Salah) the cash in Maine. The voice later identified himself to
me as Jamal Ali, When I asked this person on the phone (“Ali”) questions about the cash, such as
when and where the cash transaction took place, how much money was provided, and what was
the purpose of the cash, he was unable to provide any answers. While | was on the phone, J could
hear other men in the background trying to coach Ali. Ali eventually told me that J would have to
speak with Ali’s uncle for any details about the cash. Ali would not provide the uncle’s name.
Salah told me that he did not know Jamal Ali’s uncle’s name.

20. Salah then told us that the friends who lent him the money were from Minnesota.
Salah was unable to explain why they were meeting in Maine to do the cash transaction if they
were all from Minnesota.

21. Salah also told me that he was employed as a truck driver. Salah offered that he
owned a truck, which he described as a Volvo that he purchased one month prior. Salah told me

that he wished to purchase a second truck to grow his business. As Salah was explaining this, he
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showed Sgt. Lopes and me a video of the truck he owned. I saw that this was the same video Salah
had previously shown us of the truck he was allegedly buying in San Diego. Salah was insistent
that the truck he was showing us was his truck, but he was unable to explain his prior inconsistent
statement and display of the same video, Salah stated that the truck he currently owned was in
need of repair and not operated.

22. When I asked Salah the license plate number to his current truck, Salah was unable
to do so, Salah stated that a friend of his was going to take a picture of the license plate and sent
it to Salah. Salah later produced a photograph of a Minnesota license plate resting on a table, not
affixed to a vehicle. However, when I checked the license plate number in the Criminal Justice
Information System, I received the response, “NOT ON FILE.” I attempted to check the license
plate number using several other methods but each method produced the same type of response.
Salah also provided a Vehicle Identification Number (VIN) for the truck. When I ran the VIN, I
also received “NOT ON FILE” response. A colleague in Minneapolis later attempted to locate the
license plate and VIN and also received “NOT ON FILE” response.

23. Salah stated that the last time he worked was in November of 2018 and that he
earned approximately $4,000 per week as a trucker. According to surveys found online, truck
drivers are paid .27¢ to .40¢ per mile. Even if Salah was even paid .50¢ per mile he would still
need to drive 8,000 miles per week to make $4,000. This equates to driving over 1,000 miles per
day, seven days a week. If he drove at an average speed of 65 miles per hour, Salah would need
to drive 17 hours per day which is unlikely because it is a violation of strict regulations governing
truck driver’s work hours.

24. —_— Despite travelling with a significant sum of cash, Salah told us that he had bank

accounts at Wells Fargo and Chase banks.
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25, While still at the checkpoint Salah later said that that $20,000 of the Currency was
his and, contrary to what Salah said about borrowing the money, he told us he earned the money
driving trucks, He said that he brought the cash to Maine in November of 2018 for Ali to “hold.”
Salah told us that Ali “held” the money for him and when Salah needed the money, Salah traveled
back to Maine to collect it. I told Salah that I found his explanation incredible and that I was
detaining the Currency to have a drug detection K-9 examine it at the nearby F Troop MSP
barracks.

26. We moved the Currency to the nearby F Troop barracks. - Prior to the K-9 team’s
arrival, the Currency was hidden out of sight of the K-9 and its handler. MSP K-9 handler, Tpr.
Brian Bonia, alongside his K-9 partner Maximus, responded to the barracks. Subsequently,
Maximus located and alerted to the Currency, indicating to the presence of narcotics odor on the
Currency.

27. Tpr. Bonia has been employed by the MSP since 2004 and has been assigned to the
MSP K-9 unit since March 2008. Maximus is a 10-year old German Shepard and is used to detect
controlled substances in different situations, including interdiction investigations, In October of
2008, Tpr. Bonia and Maximus attended and successfully completed a 320-hour course in narcotic
detection through the New England State Police Administrators Conference (NESPAC).

28. Tpr. Bonia and K-9 Maximus attend recertification on a yearly basis. As a result,
Maximus is certified to detect marijuana, cocaine, heroin, and methamphetamine. Since the initial
NESPAC accreditation course, Tpr. Bonia and K-9 Maximus have maintained their training at a
minimum of 16 hours per month. Tpr. Bonia advised that searches. conducted by K-9 Maximus

have ied to the seizure of marijuana, cocaine, heroin and methamphetamine.
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29, The Currency was subsequently seized and counted, during which time a strong
odor of marijuana emanated from it. The Currency totaled $36,000 and was comprised of 1,800
twenty dollar bills.

24, The next day, March 14, 2019, Salah returned to the MSP Troop F barracks. Salah
was accompanied by Ahmed Mohamed who periodically reminded Salah to, “Calm down bro.”
Salah said that he returned to Troop F to show mea photograph of a document that was stored on
his telephone. Salah said the document was the title for his truck, which he owned and parked in
Minnesota.

25. | While Salah was at the barracks he told me that I could not “hold against [him]
what [he] said yesterday.” He said “I was tired. So it doesn’t count.” T asked Salah about his
American Airlines reservation for his trip to San Diego, CA the day before. Salah stated that he
made the reservation himself. I knew Salah’s ticket was purchased by Muqtar Mohamud. I asked
Salah if he knew Muqtar Mohamud, and he denied knowing him. When I asked Salah how he
purchased his American Airlines reservation, Salah produced a ReadyCard. ReadyCard is a
prepaid credit card system that allows customers to provide payment, including cash, in exchange
for the prepaid card. ReadyCard can be purchased in many places, including Boston Logan
Airport. Much like a credit card, each ReadyCard has a unique number used to complete
subsequent financial transactions. Despite his assertion that this card was used to purchase his
ticket, the number on the card did not match the reservation for his airline ticket. Although Salah
said he did not know Mugtar Mohamed, I later learned that on March 10, 2019, Salah was stopped

by the police in Lewiston, ME while operating Muqtar Mohamud’s vehicle.
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Conclusion

27. Based upon the information set forth above, probable cause exists to believe that
the Currency is subject to forfeiture to the United States pursuant to 21 U.S.C. § 881(a)(6) because
it represents moneys, negotiable instruments, securities, or other things of value furnished or
intended to be furnished by any person in exchange for a controlled substance or listed chemical
in violation of 21 U.S.C. §§ 841 and/or 846, proceeds traceable to such an exchange, and/or
moneys, negotiable instruments, and securities used or intended to be used to facilitate such a
violation.

Signed under the penalty and pains of perjury this 4? day of September, 2019.

 

, David X.‘O’Neill
O |10 12014 Special Agent

! ; tI A= Drug Enforcement Administration

LESUIE A. MCCARTHY

Notary Public

4 Commonwealth of Massachusetts

My Commission Expires
October 8, 2021

 
  
